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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


CHARLES JOSEPH FREITAG, Jr., as                              CIVIL ACTION
ADMINISTRATOR of the ESTATE OF
CHARLES JOSEPH FREITAG, SR.,                                NO. 2:19-cv-05750

                                Plaintiff,
                       vs.

COUNTY OF BUCKS, et al.

                               Defendants.


              JOINT APPENDIX IN SUPPORT OF SUMMARY JUDGMENT
 Exhibit Number    Joint Appendix    Description
 Exhibit 01        JA0000001         Exhibit 01 - Amended Complaint
 Exhibit 02        JA0000023         Exhibit 02 - SOP B-3.23
 Exhibit 03        JA0000026         Exhibit 03 - SOP B-4.60
 Exhibit 04        JA0000034         Exhibit 04 - SOP B-4.66
 Exhibit 05        JA0000041         Exhibit 05 - Email to Deputy Warden
                                     Mitchell
 Exhibit 06        JA0000043         Exhibit 06 – Dr. Cassidy Email 8.1.2018
 Exhibit 07        JA0000045         Exhibit 07 - Email between Deputy Warden
                                     Mitchell and Carl -Metellus 8.24.2018
 Exhibit 08        JA0000048         Exhibit 08 - Officer Activity Log
 Exhibit 09        JA0000052         Exhibit 09 - Onisick Report
 Exhibit 10        JA0000058         Exhibit 10 - Autopsy
 Exhibit 11        JA0000064         Exhibit 11 - NCCHC May 2017 letter
 Exhibit 12        JA0000110         Exhibit 12 - Records related to NCCHC

 Exhibit 13        JA0000125         Exhibit 13 - Moody Training Transcript

 Exhibit 14        JA0000130         Exhibit 14 - Murphy Training Transcript

 Exhibit 15        JA0000139         Exhibit 15 - Young Training Transcript

 Exhibit 16        JA0000150         Exhibit 16 - Murphy Deposition
 Exhibit 17        JA0000159         Exhibit 17 - Moody Deposition
 Exhibit 18        JA0000174         Exhibit 18 - Young Deposition
 Exhibit 19        JA0000185         Exhibit 19 - Nottingham Deposition
 Exhibit 20        JA0000193         Exhibit 20 - Mitchell Deposition
 Exhibit 21        JA0000197         Exhibit 21 - Metellus Deposition


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Exhibit 22          JA0000200      Exhibit 22 - August 25, 2018 starting at 8:13
                                   a.m.
Exhibit 23          JA0000201      Exhibit 23 - August 25, 2018 starting at 9:13
                                   a.m.
Exhibit 23(a)-(l)   JA0000201(a)   Exhibit 23(a) to (l) - Screenshots of Mr.
                                   Freitag's Movement
Exhibit 23(m)       JA0000201(a)   Exhibit 23(a) – Screenshots of Officer
                                   Murphy Tour 10:04 a.m.
Exhibit 24          JA0000202      Exhibit 24 – August 25, 2018 Video starting
                                   at 10:13 a.m.
Exhibit 24(a)       JA0000202      Exhibit 24(a) Screenshots of Officer Murphy
                                   Tour 10:21 a.m.
Exhibit 25          JA0000203      Exhibit 25 - Gravette Report and Attachments
                                   (Corrections)
Exhibit 26          JA0000226      Exhibit 26 - Perrien Report and Attachments
                                   (Correctional Psychology)
Exhibit 27          JA0000267      Exhibit 27 - Sperry Report and Attachments
                                   (Forensic Pathology)
Exhibit 28          JA0000313      Exhibit 28 - Verzilli Report and Attachments
                                   (Economics)
Exhibit 29          JA0000336      Exhibit 29 - Social Worker Case Notes
Exhibit 30          JA0000339      Exhibit 30 - Offender Management - Alerts
Exhibit 31          JA0000341      Exhibit 31 - Treatment Services
Exhibit 32          JA0000345      Exhibit 32 - Inmate monitor form (8-24 10
                                   pm - 8-25)
Exhibit 33          JA0000348      Exhibit 33 - Bochenek 10-24-19 incident
                                   report
Exhibit 34          JA0000350      Exhibit 34 - DiSandro report re prisoner
                                   interviews
Exhibit 35          JA0000352      Exhibit 35 - Bochenek Investigation report
Exhibit 36          JA0000354      Exhibit 36 - Officer Young Incident Report
Exhibit 37          JA0000356      Exhibit 37 - Officer Moody Incident Report
Exhibit 38          JA0000358      Exhibit 38 - PrimeCare Mortality Review
Exhibit 39          JA0000367      Exhibit 39 - Penge resume
Exhibit 40          JA0000370      Exhibit 40 - Mahoney resume
Exhibit 41          JA0000373      Exhibit 41 - Annual report re PCM MH care
Exhibit 42          JA0000380      Exhibit 42 - Job descriptions
Exhibit 43          JA0000389      Exhibit 43 - Mahoney letter

Exhibit 44          JA0000391      Exhibit 44 - Suicide Prevention Policy
Exhibit 45          JA0000404      Exhibit 45 - Medical Records
Exhibit 46          JA0000710      Exhibit 46 - Photo of Cups
Exhibit 47          JA0000712      Exhibit 47 - Hugh Caldwell statement
Exhibit 48          JA0000715      Exhibit 48 - Notice of Deposition - Bucks
                                   County 30(b)(6) 2021-05-05-2
Exhibit 49          JA0000719      Exhibit 49 - Bucks DA Report 2018-0684
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Exhibit 50        JA0000725      Exhibit 50 - PrimeCare Email re MH Hours
Exhibit 51        JA0000727      Exhibit 51 - Brautigam Resume
Exhibit 52        JA0000731      Exhibit 52 - James Resume
Exhibit 53        JA0000734      Exhibit 53 - Notice of Deposition - PrimeCare
                                 2021-06-09
Exhibit 54        JA0000737      Exhibit 54 - Notice of Deposition - Bucks
                                 County 2022-04-26
Exhibit 55        JA0000740      Exhibit 55 - Suicide Prevention Program
                                 (2019) (Bucks)
Exhibit 56        JA0000752      Exhibit 56 - Mental Health Screening and
                                 Evaluation (2019) (Bucks)
Exhibit 57        JA0000756      Exhibit 57 - Police Criminal Complaint
Exhibit 58        JA0000759      Exhibit 58-Primecare Summary of Medical
                                 Contacts
Exhibit 59        JA0000761      Exhibit 59 - Weber Deposition
Exhibit 60        JA0000781      Exhibit 60 - Mahoney Deposition
Exhibit 61        JA0000787      Exhibit 61 - Scordellis Deposition
Exhibit 62        JA0000790      Exhibit 62 - Freitag Robert Deposition
Exhibit 63        JA0000797      Exhibit 63 – Second Nottingham Deposition
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